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PROBER & RAPHAEL, A LAW CORPORATION
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FHAC.241-6356.NF


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA


In re                                               Bk. No. 18-55641-sms

Janice Cornelia Reid,                               Chapter 13

         Debtor.
                                               /

                              REQUEST FOR SPECIAL NOTICE

        IT IS HEREBY REQUESTED that copies of any documents, pleadings or Orders for which

claimant Bank of America N.A., its assignees and/or successors in interest, is entitled to service or

notice, with regard to the real property described as 4413 Watson Ridge Drive Unit 59, Stone

Mountain, Georgia 30083 (Loan No. XXXX4974), and that a courtesy copy also be sent to:

                        PROBER & RAPHAEL, A LAW CORPORATION
                             20750 Ventura Boulevard, Suite 100
                              Woodland Hills, California 91364

        This does not constitute a general appearance for any purpose and is not a waiver of any

service requirements, under applicable law, including, but not limited to Bankruptcy Rule 7004.


Dated: April 5, 2018                  By /s/ Lee S. Raphael
                                        LEE S. RAPHAEL, ESQ., CA BAR # 180030
                                      As Agent for Claimant




                                                         1
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                                       PROOF OF SERVICE

               STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:

               I, Roger Soria, certify that I am a resident of the County aforesaid; I am over the age

of 18 years and not a party to the within action; my business address is 20750 Ventura Boulevard,

Suite 100, Woodland Hills, California 91364.

               On April 6, 2018, I served the within REQUEST FOR SPECIAL NOTICE on all

interested parties in this proceeding by placing true and correct copy thereof enclosed in a sealed

envelope with postage prepaid in the United States Mail at Woodland Hills, California, addressed as

follows:

Janice Cornelia Reid
4413 Watson Ridge Drive
Stone Mountain, GA 30083
Debtor

Howard P. Slomka, Esquire
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339
Attorney for Debtor

Mary Ida Townson
191 Peachtree Street, NE
Suite 2200
Atlanta, GA 30303-1740
Chapter 13 Trustee

               I declare that I am employed in the office of a member of the Bar at whose direction

this service was made.

               I certify under penalty of perjury that the foregoing is true and correct.


               Executed on April 6, 2018, at Woodland Hills, California.


                                               /s/ Roger Soria




                                                           2
